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                                                                         FILED
                       UNITED STATES DISTRICT COURT                      SEP 19   ~
                     SOUTHERN DISTRICT OF CALIFORN A               CLERKUS-OISTRiC;TCOURT
                                                                SOUTHERN DISTRICT OF CALIFORNIA
                                                                BY                      DEPUTY
                                                                                     -------
UNITED STATES OF AMERICA,                   CASE NO. 12-cr-03377-AJB

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
GABRIELA MINJAREZ,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

__
 X__ an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
        Ity; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

     8: 1324 (A) (1) (A) (ii) and (v) (I I) - Transportation of Illegal Aliens and

     Aiding and Abetting(l)

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 9/19/12
                                            William McCurine, Jr.
                                            U.S. Magistrate Judge
